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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Eastern District of New York

OSCAR MENDOZA

Plaintiff(s)

V. Civil Action No. 25-cv-02959-OEM-SIL
GIORDANO'S COLLISION INC.,
KRISTOPHER KOERNER and
BENEDETTO ROMANO,
individually

Nee ee ee SS

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) GIORDANO'S COLLISION INC.,
KRISTOPHER KOERNER and
BENEDETTO ROMANO, 2164 Rte
112, Medford, NY 11763

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are the
United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
name and address are: Lina Stillman, Esq.Attorneys for PlaintiffStillman Legal, P.C.42 Broadway, 12t FloorNew York, New
York 10004Tel (212) 203-2417

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date:

5/30/2025 SSG Sanha Felpueras

Signature of Clerk or Deputy Clerk

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

® I personally served the summons on the individual at (place) on (date) ; or

*® I left the summons at the individual’s residence or usual place of abode with (name) , a person of

suitable age and discretion who resides there, on (date)

, and mailed a copy to the individual’s last known address; or

® I served the summons on (name of individual) , who is designated by law to accept service of
process on behalf of (name of organization)

On (date) 5
or # I returned the summons unexecuted because
> Or
® Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00
I declare under penalty of perjury that this information is true.
Date:
Server s signature
Printed name and title
Server's address

Additional information regarding attempted service, etc:

